     Case 3:07-cv-04141-PJH          Document 20       Filed 05/14/2008      Page 1 of 1



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                                   UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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10   IN RE LUMINENT MORTGAGE CAPITAL
     INC., SECURITIES LITIGATION                        No. C 07-4073 PJH
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              This document relates to:                 SCHEDULING ORDER
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                            ALL ACTIONS
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     ___________________________________/
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              Before the court is the stipulation of the parties to “suspend” the briefing and hearing
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     schedule on defendants’ March 31, 2008, motion to dismiss pending mediation and further
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     notification by the parties when they are ready to proceed. Instead of leaving the motion
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     pending on the court’s docket indefinitely, the court orders that the March 31, 2008 motion
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     to dismiss be administratively terminated. When and if the parties desire to proceed with
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     this motion, it must simply be re-noticed. As per the stipulation, plaintiffs shall file their
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     opposition by May 29, 2008. The reply may, however, be filed after the hearing is re-
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     noticed. The hearing shall be re-noticed to take place at least three weeks after the reply is
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     filed.
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     IT IS SO ORDERED.
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     Dated: May 14, 2008
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27                                                              PHYLLIS J. HAMILTON
                                                                United States District Judge
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